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INDEX NO. 654476/2017

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK
PlZZAROTTl IBC, LLC, l [ndex No. 654476/2017
Plaintiff, l Date Purchased: 6/26/17
-against- §_\.MENDED SUMM§)|§§
l Plaintiff designates New York County as
MICHAEL MASTERS, j the place of trial.

Defendant. The basis ofvenue is:
Plaintifi's Principal Place of Business

 

To the above-named Defendant:

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a copy
of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance on the plaintist attorneys within twenty (20) days after the service of this
summons, exclusive of the day of service (0r within thirty [30) days after the service is
complete if this summons is not personally delivered to you within the State of New York];
and in case of your failure to appear or answer, judgment will be taken against you by
default for the relief demanded herein.

Dated: ‘]uly 11, 2017

PECKAR & ABRAMSON, P.C.
PlZZAROTTl IBC, LLC

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Ui: MUNTE
tlu neys for Plaintiff
41 Madison Avenue, 2th Floor
New York, NY 10010
(212] 382-0909

  

 

 

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99 Primrose Str‘eet
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SUPREME COURT OF Tl'lE STATE OF NEW YORK

 

COUNTY OF NEW YORK
PIZZAROTTl lBC LLC lndex No. 654476/2017
Plaintiff,
AMENDED COMPLAINT
- against -
MICHAEL MASTERS,
Defendant.

 

 

Plaintiff, Pizzarotti lBC LLC ["Pizzarotti"], by its attorneys, Pecl<ar & Abramson,
P.C., for its Amended Complaint against defendant Michael Masters hereby alleges as
follows:

1. This action arises as a result of the theft and misuse of proprietary and
confidential business documents and information by defendant Michael Masters
("Masters”] from his former employer, Pizzarotti IBC LLC, which he then shared with
his subsequent employer, X-treme Concrete, lnc. (“Xtreme"]. Masters has and is
utilizing plaintiffs proprietary and confidential documents and information to, among
other things, assert unfounded claims against Pizzarotti on behalf of Xtre'me; extort
money from Pizzarotti; and otherwise damage Pizzarotti. Pizzarotti seeks
compensatory and punitive damagesl injunctive relief, attorneys' fees, costs and other

appropriate relief.

,,\.J,-OE-,=G-_.; 2. Plaintiff was and is a Delaware limited liability company duly authorized
Peckar 6 to conduct business in the State of New York.

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" 3 Masters is a former employee of plaintiff

 

 

 

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4. ln early 2016, prior to Masters' separation from Pizzarotti, Pizzarotti was
engaged to construct a new condominium building known as ]ardiin and located at 527
W. 27th Street in New York, New York (the "Project”).

5. ln April of 2016, Pizzarotti retained Xtreme as a concrete subcontractor
to complete the concrete foundation and superstructure at the Project.

6. Xtreme failed to perform its duties under its subcontract, Xtreme
abandoned its work repeatedly With no explanation and thereby causing losses and
extra expenses to Pizzarotti. ’l`he work that was completed by Xtreme was deficient,
nonconforming and delayed without excuse.

7. As a result of Xtreme's breaches, on March 29, 2017, Pizzarotti notified
Xtreme that its subcontract was being terminated for cause.

8. During the course of Xtreme's work and until the time his employment
With Pizzarotti ended in late 2016, defendant Masters Was employed by Pizzarotti as a
Project Executive nn several construction projects in New York City, including the
Project on Which Xtreme was a subcontractor.

9. Masters’ duties as Project Executive included managing subcontractors;
negotiating contracts; estimating; bidding; profit/loss of assigned projects; supervision
ofproject management staff; approval ofsubcontractor awards and payments

10. Masters' position allowed him access to Pizzarotti’s confidential and
proprietary documents and information pertaining to clients, contracts and
construction practices, among other things. ln particular, he had access to confidential
and proprietary information relating to Pizzarotti’s hiring and use of Xtreme on the

Project.

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11. As a condition of his employinent, Masters agreed to strict confidentiality
rules and agreed to protect proprietary and confidential company information,
including as set forth in the Pizzarotti Team Member l~landbook ("Pizzarotti
Handbook"). Defendant Masters executed an acknowledgment of these company rules
contained in the Pizzarotti llandbook on or about May 26, 2015.

12. On November 23, 2016, Masters and Pizzarotti entered into a Severance
Agreement and Release of Claims ["Severance Agreement"). Pursuant to the Severance
Agreement, Masters' termination became effective on 0ctober 24, 2016.

13. Masters agreed to abide by the terms of the Severance Agreement in
exchange for certain salary and benefits as set forth in the Severance Agreement.

14. Pursuant to the Severance Agreement, Masters agreed that he would not
"issue any communication...that... encourages any adverse action against Pizzarotti..."

15. lmportantly, the Severance Agreement contained a strict confidentiality
provision Which provided as follows:

Confidentiality. You agree not to disclose, nor use for your benefit
or the benefit of any other person or entity, any information
received in connection with Pizzarotti IBC which is confidential or
proprietaiy and [i] which has not been disclosed publicly by
Pizzarotti lBC, (ii) which is otherwise not a matter of public
knowledge or (iii] which is a matter of public knowledge but you
know or have reason to know that such information became a
matter of public knowledge through an unauthorized disclosure.
Proprietary or confidential information shall include information
the unauthorized disclosure or use of which would reduce the
value of such information to Pizzarotti lBC. Such information
mw OI_.HGB includes, without limitation, Pizzarotti lBC’s client lists, its trade

secrets, any confidential information about (or provided by] any
Peckar 57 client or prospective or former client of Pizzarotti lBC, information
Abramson concerning Pizzarotti lBC's business or financial affairs, including
"p""""°'"'C""”"""""" its books and records, commitments procedures, plans and
prospects, products developed by Pizzarotti IBC, or current or
prospective transactions or businesses of Pizzarotti lBC and any

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"inside information." You hereby confirm that you have delivered
to Pizzarotti lBC and retained no copies of any written materials,
records and documents [including those that are electronically
stored] made by you or coming in to your possession during the
course of your employment with Pizzarotti lBC which contain or
refer to any such proprietary or confidential information You
further confirm that you have delivered to Pizzarotti lBC any and
all property and equipment of Pizzarotti lBC, including laptop
computers, etc., which may have been in your possession

16. The Severance Agreement also requires that Masters not ”assist or
otherwise participate willingly or voluntarily in any arbitration or lawsuit which
relates to any matter that involves Pizzarotti lBC..."

17. Pizzarotti has legitimate, protectable business interests which justify the
foregoing restrictions including protection of Pizzarotti’s trade secrets, protection of
valuable confidential business information, client information, the preservation of
Pizzarotti's goodwill in the construction industry, as well as information regarding the
accounting ofpayments due and the retention and termination ofsubcontractors.

18. During Masters’ employment at Pizzarotti, he had access to proprietary
data, and confidential documentation and information.

19. On information and belief, Masters improperly accessed and copied
Pizzarotti confidential and proprietary documents and information for personal gain
during and after his employment

20. immediately following the separation of his employment at Pizzarotti,

Masters commenced employment at Xtreme and worked on behalf of Xtreme on the

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Project, thus dealing on behalfothreme with his foiTner employer Pizzarotti.
Peckar 6
Abramson 21. On information and belief, before the separation of his employment at

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Pizzarotti, Masters conspired with Xtreme to leave his employment at Pizzarotti,

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commence Working for Xtreme, and use the information he obtained as an employee of
Pizzarotti in order to harm Pizzarotti in various ways, including in relation to a contract
dispute between Xtreme and Pizzarotti arising out othreme's work at the Project.

22. On March 29, 2017, after Masters left Pizzarotti's employ and after
commencing employment with Xtreme, Xtreme made baseless and excessive claims for
additional payments, including a demand for $3,312,348.00 allegedly resulting from
alleged delays on the Project. Xtreme wrongly claimed that delays by thc designer were
impacting its Work.

23. In support of its groundless claini, Xtreme included Pizzarotti's
proprietary and confidential documents and information including correspondence
With the design team and the owner ofthe Project.

24. On information and belief, this information was improperly provided to
Xtreme by Masters. The emails included in Xtreme's claim for extra costs bear Master's
name thus identifying Masters as the individual who printed and copied the emails in
question. Xtreme has no independent source for obtaining these communications
Masters was not permitted to utilize Pizzarotti's communications in that way and is
strictly forbidden from assisting Xtreme in making an adverse claim.

25. Defendant is attempting to capitalize on insider communications to
bolster a non-existent and concocted claim by his new employer, and is actively causing
injury to Pizzarotti's business interests

26. On April 4, 2017, Xtreme filed a groundless lien against the Project for the

exorbitant amount of $7,972,000.00, which Pizzarotti was required to discharge by the

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posting of an appropriate lien discharge bond pursuant to its independent obligations
to the Project owner.

27. Masters was a senior employee with insider knowledge of Pizzarotti's
confidential and proprietary information. Masters misused and misappropriated
Pizzarotti's proprietary information including company emails and other
communications

28. Masters then passed off the proprietary information to Xtreme in
violation of his duties to Pizzarotti, including the duty of loyalty, the terms of the
Severance Agreement and the Pizzarotti Handbook, and applicable law.

29. Defendant Masters seeks to Wrongly profit from Pizzarotti's confidential
and proprietary communications by using such information to buttress an unfounded
and exaggerated claim for additional expenses

30. Pizzarotti became aware of Master's actions when it was advised by the
owner of the Project that Pizzarotti's confidential communications and other
information had been used in Xtreme's claim for additional payments Masters has
damaged Pizzarotti's business relationship With the owner ofthe Project.

31. Pizzarotti has sustained and will continue to sustain damages as a result
of diminished reputation and goodwill in the construction industry due to Masters’
breaches ofconfidentiality and other acts or omissions to act.

32. Pizzarotti will be required to incur significant costs to repair and ensure
the integrity of its databases and servers by updating employee access and taking other
necessary corrective access to avoid further invasion of its proprietary and confidential

information

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33. Masters’ actions constitute a breach of his employment obligations and
the Severance Agreement. Pizzarotti seeks revocation of the Severance Agreement,
cessation of any further payments and a claw back of any and all payments to Masters,
including payments under the Severance Agreement.

For a First Cause ofAction
[Breach of§§ontract]

343 Without limiting the foregoing or the other allegations herein, Masters
breached the express and implied terms of the Severance Agreement and his
employment agreement by, inter aiia:

(a) Conspiring to use Pizzarotti's confidential and proprietary information in

direct violation of Masters’ duties of loyalty and the obligations set forth

in the Severance Agreement;

(b] improperly accessing data belonging to Pizzarotti and misappropriating
that data with the intention ofinjuring Pizzarotti's business relations;

(c) Actively planning to undermine Pizzarotti's relationships with the owner

of the Project and other clients by violating confidentiality; and

(d) Using confidential information to assist a third-party in a claim adverse to
Pizzarotti and Pizzarotti's business interests.

35. Plaintiffduly performed all ofits obligations to defendant

36. Pizzarotti has, in good faith, made substantial payments to Masters
pursuant to the Severance Agreement and the terms of his employment However, on
information and belief, as set forth herein, Masters has been in violation of that
agreement since its inception

37. By reason of the foregoing, Pizzarotti seeks revocation and termination of
the Severance Agreement Without further payments to Masters and return of all sums

paid to Masters under the Severance Agreement.

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38. Furthermore, Pizzarotti seeks the return of all wages, benefits and
bonuses, and any other amounts paid to Masters during any periods of Masters’
employment when he was in violation of his responsibilities under the terms of his
employment with Pizzarotti.

39. By reason of the foregoing, the sum of $10 million, or such other amount
as may be determined at trial, is due and owing from defendant to plaintiff, with
applicable interest thereon

For a Second Cause of Action
[Cg,n_'ipiiter fraud and Ahuse Act)

40. Masters, knowingly and with intent to injure Pizzarotti, accessed
protected computers and email databases without authorization and obtained
confidential and proprietary information

41. Masters intentionally accessed protected computers and databases
Without authorization and as a result of such conduct caused damage and caused an
interruption of Pizzarotti's operations by, inter aii'a, accessing confidential
communications and passing them on to Xtreme.

42. As a result, Pizzarotti has incurred and will incur damages, including
having to retain counsel, revising and reviewing its electronic access policies,
developing security protocois for its database, and directing resources to address the
problems caused by Masters’ conduct

43. By intentionally accessing computers and exceeding his authority, and by
deliberately taking proprietary and confidential data, Masters has violated both the

criminal and civil provisions of the Comnuter Fraiid and Abuse Act (the "CFAA"]. 18

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U.S.C. 1030 et. seq, and, as a result, Pizzarotti is entitled to applicable damages,
attorneys' fees and costs, and injunctive relief.

44. Pizzarotti has no adequate remedy at law to defendant’s ongoing misuse
of plaintiffs confidential documents and information Money damages alone will not,
and cannot, compensate Pizzarotti for the loss of goodwill and business opportunities
Masters’ actions have harmed and will continue to harm Pizzarotti's business
relationships

45. Masters’ actions as set forth herein have caused damages well in excess
of the CFAA statutory requirement of $5,000 in a one-year period.

46. Masters’ continuing conduct of retaining and utilizing fraudulently
obtained, confidential information demonstrates Masters’ willingness to continue to
engage in acts that violate the CFAA.

47. The injury to Pizzarotti is immediate and irreparable

48. Pizzarotti has demonstrated that Masters, unless restrained, would
continue to engage in conduct that is alleged herein by, among other conduct, retaining
the fraudulently obtained, confidential information

49. There is a likelihood that Pizzarotti will prevail on the merits of this
action

50. Should this Cour.t grant injunctive relief to Pizzarotti, the burden on
Masters would be slight compared to the injury to Pizzarotti if it is not granted. No
injury to Masters would result from an order requiring him to comport his actions
under the law and return and discontinue use of all misappropriated confidential and

proprietary information

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51. The granting of such an injunction Will accomplish the objectives of
Congress in enacting the CFAA.

52. in addition to injunctive relief, pursuant to the CFAA, and by reason ofthe
foregoing plaintiff is entitled to damages from defendant in an amount to be
determined at triai, with applicable interest, attorney's fees, costs and disbursements

F or a Third Cause of Action
[ange[§ion]

53. Defendant's conduct as alleged herein has resulted in unlawful and
wrongful assumption of control over, and conversion of, Pizzarotti's property and
confidential information

54. Pizzarotti has the right to recover possession of its property and
confidential information

55. Defendant has failed to return Pizzarotti's property and confidential
information and has refused to discontinue any further use.

56. As a consequence of the foregoing conduct, Pizzarotti has been injured,
for which it is entitled to recover damages from defendant in an amount to be
determined at trial, together with applicable interest thereon, and punitive damages

For a Fourth Cause of Action
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57. Masters was employed by Pizzarotti in a position oftrust and confidence

58. Both during and after his employment with Pizzarotti, Masters owed
certain fiduciary duties to Pizzarotti, including a duty ofloyalty and honesty.

59. Masters was and is prohibited from acting in a disloyal manner, or in any

way inconsistent with that trust relationship.

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60. Masters was bound to treat Pizzarotti's proprietary and confidential
documentation and information as the lawful property of Pizzarotti, and to not disclose
such information to third parties or to use such information on his own account or on
account of other third parties firms or entities

61. Notwithstanding these obligations and duties, and in violation thereof,
Masters has engaged and continues to engage in, inter alia, disloyal and untrustworthy
conduct by misappropriating or retaining Pizzarotti's confidential and proprietary
documentation and information and attempting to unlawfully benefit from Pizzarotti's
information

62. Masters was paid wages, benefits bonuses and other monies to which he
is not entitled under the Faithless Servant Doctrine, and he is now obligated to return
same to Pizzarotti.

63. Masters blatantly violated his duties by misusing Pizzarotti's confidential
communications to assist third parties in making baseless claims thereby injuring
Pizzarotti's business relationships

64. By reason of the foregoing,, the sum of $10 million, or such other amount
as may be determined at trial, is due and owing from defendant to plaintiff, with
applicable interest thereon and punitive damages

For a Fifth Cause of Action
[Misapprgpriatign]

65. Defendant intentionally and wrongfully misappropriated Pizzarotti's
property including inter alia, its proprietary and confidential business and client

information for his benefit and to Pizzarotti's detriment

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66. Pizzarotti took reasonable steps to protect and maintain the secrecy ofits
proprietary and confidential business and client information

67. Defendant has failed to return Pizzarotti's property in violation of his
agreements and applicable law.

68. By reason of the foregoing, the sum of$10 million, or such other amount
as may be determined at trial, is due and owing from defendant to plaintiff, with
applicable interest thereon

For a Sixth Cause of Action
(Tortious liilerference With Contract_and with Prosnective Ciienls)

69. Pizzarotti has an ongoing business interest in the successful completion
of the Pi'oject. F`urthermore, Pizzarotti has continuing business relationships with its
clients Within the State of New York and elsewhere in the United States.

70. Masters, during and subsequent to the time he was employed by
Pizzarotti, had knowledge ofsuch business relationships

71. As set forth above, Defendant Masters actively conspired to, and did,
intentionally and unjustifiably interfere with Pizzarotti's business relationships by,
inter alia, (a) obtaining Pizzarotti's confidential client data; (b] using confidential data
to aid Xtreme in asserting a baseless and inflated claim injurious to Pizzarotti's
interests and injuries to Pizzarotti's clients; and (c) causing Pizzarotti to expend money
and resources in responding to the Xtreme claim and the misuse of Pizzarotti's
confidential information

72. As a result of Defendant's unjustified and improper actions, Pizzarotti has
been forced to commit resources to respond to Xtreme claim and has sustained a

general loss of goodwill and reputation in the industry.

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73. Pizzarotti has suffered and continues to suffer damages as a result of
Defeiidant’s intentional interference With Pizzarotti's existing contracts and
prospective business relationships

74. By reason of the foregoing, tlie sum of$10 million, or such other amount
as may be determined at trial, is due and owing from defendant to plaintiff, with
applicable interest thereon

For a Seventh Cause of Action

[injnnctive Relie{j

75. Pizzarotti has suffered and continues to suffer irreparable harm as a
result of Masters’ improper actions in violation of his agreements with Pizzarotti and
applicable law, which infringe upon Pizzarotti's legitimate business interests including
but not limited to, protection of Pizzarotti's confidential documents and information
and preservation ofclient goodwill.

76. Masters’ improper actions constitute harm of a continuing nature for
which Pizzarotti has no adequate remedy at law. The misappropriation or unauthorized
use of Pizzarotti's proprietary business information cannot be compensated by a mere
moneyjudgment.

77. By reason of the foregoing plaintiff is entitled to an injunction against
defendant, and anyone acting as his agent or in concert with him, prohibiting him from
using plaintiffs proprietary or confidential documents or information and directing the
immediate return of sanie.

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Peckar S’ WHEREFORE, plaintiff seeks judgment against defendant (a] on the first, fourth,
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fifth and sixth causes of action, in the sum of $10 million, or such other amount as may

 

be determined at trial is due and owing from defendant to plaintiff, with applicable

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interest thereon (b) on the second and

as the Court determines is appropriate

Dated: july 7, 2017

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seventh causes of action, in the form of an

injunction and applicable damages and costs in an amount to be determined, and (c) on
the third cause of Action, in an amount to be°determined at ti'ial, with applicable

interest thereon, and (d) attorney's fees, costs and disbursements and such other relief

 

PECKAR & ABRAMSON, P.C.
Atto_i_'ne_v_s for Plaintiff
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By‘:
Paul Monte
41 Madison Avenue
New York, NY 10010
(212) 382-0909
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§ _l NYSCEF - New York County Supreme Court
"-`f':ll- Z;ll_,-f`-" Confirmation Notice

      

 

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Pizzarotti lBC, LLC - v. - Michael Masters
654476/2017

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Name: PAUL G MONTE
Phone #: 212-382-0909 E-mail Address; pmonte@pecklaw.com

Fax #: 212-382-3456 Work Address: 41 Madison Avenue, 20th F|.
New York, NY 10010

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